                Case 3:10-cr-00089-RCJ-CLB             Document 21       Filed 07/12/10        Page 1 of 1

AO470 (Rev.01/09)OrderSchedulingaDttentionHearing                                        kz/ FIkg!
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         A detention hearing in thiscase isscheduled asfollows:

         BruceR,ThompsonCourthouseXtiiederalBldg.                 Courtroom N o.:
         400 S.V irginia St.
         Reno,N evada89501
                                                                  Date and Tim e:     July 15,2010 at3:00 PM
         Before:Valerie P.Cooke,U .S.M agistrateJudge

        IT IS ORDER ED: Pending thehearing,thedefendantisto be detained in the custody oftheUnited States
m arshalorany otherauthorized officer.The custodian mustbring the defendantto the hearing atthe tim e,date,and
place setforth above.




1)ate:       Jt41.2,2010                                                                     .       J'D
                                                                                     Judge'
                                                                                          s.çfgl re


                                                                        Valerie P.Cooke,U .S.M agistrate Judge
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